Case 2:18-cv-03272-DMG-LAL Document 28 Filed 10/20/20 Page 1 of 1 Page ID #:1326




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                                   UNITED STATES DISTRICT COURT
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                                  CENTRAL DISTRICT OF CALIFORNIA
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  10   KEVIN A. WHITE,                                   Case No. LACV 18-3272-DMG (LAL)

  11                                   Petitioner,       ORDER ACCEPTING REPORT AND
                                                         RECOMMENDATION OF UNITED
  12                         v.                          STATES MAGISTRATE JUDGE
  13   DEBBIE ASUNCION, Warden,

  14                                      Respondent.

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  17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the Magistrate Judge’s
  18   Report and Recommendation, and the remaining record, and has made a de novo determination.
  19          Accordingly, IT IS ORDERED THAT:
  20          1.     The Report and Recommendation is approved and accepted;
  21          2.     Judgment be entered denying the Petition and dismissing this action with
  22                 prejudice; and
  23          3.     The Clerk serve copies of this Order on the parties.
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       DATED: October 20, 2020                       ________________________________________
  26                                                 DOLLY M. GEE
  27                                                 UNITED STATES DISTRICT JUDGE

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